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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



       RENEE BURCHARD, et al.,       )
                                     )
               Plaintiffs,           )
                                     )
               v.                    )                       Case No. 1:22-CV- 00497 (JMC)
                                     )
       AMERICA 250 FOUNDATION,       )
       et al.,                       )
                                     )                       JURY TRIAL DEMANDED
               Defendants.           )
       ______________________________)


                      PLAINTIFFS’ NOTICE OF TRANSFER ORDER

       Comes now Plaintiffs, Renee Burchard and Kirsti Garlock, by and through undersigned

counsel, with their Notice of Transfer of Daniel DiLella, et al. v. Renee Burchard, et al., Case No.

2:23-CV-4567 (NQA), to this Court for adjudication. A copy of the ORDER is attached hereto as

EXHIBIT 1. Plaintiff’s plan to file a motion to consolidate the matters upon receiving notice of

receipt of the case from the Court.




                                              Respectfully submitted,

                                              /s/Pamela M. Keith
                                              Pamela M. Keith
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                                CERTIFICATE OF SERVICE

       This certifies that a true copy of the foregoing Plaintiff’s Notice of Transfer Order was

served on Defendant this 9th day of June 2024, by electronic court filing system on:



       Brian Scotti
       GORDON REES SCULLY MANSUKHANI
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       Counsel for Defendant


                                                    /s/Pamela M. Keith
                                                    Pamela M. Keith




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